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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


 PHAP ANH LE                                    §
                                                §
   v.                                           §                 Civil No. 1:25-cv-00870-ADA
                                                §
 MIDLAND CREDIT MANAGEMENT,                     §
 INC.


                                           ORDER


The above captioned cause, having been removed to this Court on June 06, 2025 from the Justice

Court, Precinct 2, of Travis County, Texas, J2-CV-25-003071 and the Court being of the opinion

that a copy of the complete record (minus discovery) in this case is necessary.

         IT IS HEREBY ORDERED, pursuant to 28 U.S.C. § 1447(b), that the removing party, if

it has not already done so, shall within ten (10) days from the date of this order supplement the

record with state court pleadings. The supplement is to be electronically filed and shall include a

copy of the complete file, including the docket sheet, in this cause from the Court from which this

case has been removed.

         SIGNED this the 11th day of June 2025.



                                                     ALAN D ALBRIGHT
                                                     UNITED STATES DISTRICT JUDGE
